Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 1 of 7




                        EXHIBIT 3
Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 2 of 7
Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 3 of 7
Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 4 of 7
Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 5 of 7
Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 6 of 7
Case 1:01-cv-12257-PBS Document 7132-3 Filed 06/10/10 Page 7 of 7
